Case 3:14-cr-00534-CRB Documént 1 Filed 10/22/14 Page 1 of 27

United States District Court FH~FD

  
   

FOR THE 1611 GC? 22 A op 52
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vENuE; SAN FRANC|$CO ' l"‘“~-S"“CT@FCA' rfsa»z;

 

UN|TED STATES OF A|V|ERICA,
V.

CR 14 534

JOSEPH J. GlRAUDO

DEFENDANT(S).

 

lND|CTMENT

Tit|e 15 U.S.C. Section 1 (Bid Rigging)
(Counts One, Six)
Tit|e 18 U.S.C. Section 1341 (Mai| Fraud)
(Counts Two, Three, Four, Five, Seven, Eight)

 

 

 

 

 

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a Foreman
Filed in open court this 2f1 31 day of
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Case 3:14-cr-00534-CRB Document 1 Filed 10/22/14 Page 2 of 27

United States District ColqrrgtL 5 D

FOR THE

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VENUE: SAN FRANC|SCO

 

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UNITED STATES OF A|V|ER|CA,

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ii '~`?;" §§ "
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RAYN|OND A. GR|NSELL

DEFENDANT(S).

 

lND|CTMENT

Tit|e 15 U.S.C. Section 1 (Bid Rigging)
(Counts One, Six)
Tit|e 18 U.S.C. Section 1341 (N|ai| Fraud)
(Counts Two, Three, Five, Seven, Eight)

 

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Filed in open court this 9~#\31‘ day er
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Case 3:14-cr-00534-CRB Document 1 Filed 10/22/14 Page 3 of 27

United States District Cou\r
FOR THE tF l L E D

NoRTHERN Dls'rRlcT oF cALlFoRNlA Z£HIJ 86122 A qv 52
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uNlTED STATES OF AMER\CA, %(y
v.

CR 14 534

KEV|N B. CULL|NANE

DEFENDANT(S).

 

lND|CTMENT

Tit|e 15 U.S.C. Section 1 (Bid Rigging)
(Counts One)
Titie 18 U.S.C. Section 1341 (N!ail Fraud)
(Counts Two, Three, Four)

 

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Case 3:14-cr-00534-CRB Document 1 Filed 10/22/14 Page 4 of 27

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Um'ted States District Courtz,}, § 59

 

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NORTHERN DISTR|CT OF CAL|FORN|A NORC1 r_e, " §§ 2
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vENuE; SAN FRANC|SCO ""0111~'1 -
UN|TED STATES OF AMER|CA, w
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O
CR 14 534

JAN|ES F. APPENRODT

DEFENDANT(S).

 

lND|CTMENT

Tit|e 15 U.S.C. Section 1 (Bid Rigging)
(Counts One, Six)
Tit|e 18 U.S.C. Section 1341 (Mai| Fraud)
(Counts Three, Four, Five, Eight)

 

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Foreman
Filed in open court this 2 1 92 day of
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Clerk

 

 

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Case 3:14-cr-00534-CRB Document 1 Filed 10/22/14 Page 5 of 27

United States District Courf!LED

FOR THE

NORTHERN DlSTRlCT OF CALIFORNIAF:
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VENUE: SAN FRANC|SCO

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UN|TED STATES OF AMER|CA,
V.

CR 14

ABRAHA|\/l S. FARAG

DEFENDANT(S).

 

lND|CTMENT

Title 15 U.S.C. Section 1 (Bid Rigging)
(Counts One)
Title 18 U.S.C. Section 1341 (Mail Fraud)
(Counts Twol Four)

 

 

 

 

 

A true bi||.
V' Foreman
Filed in open court this 3 \g 5` day of
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Case 3:14-cr-00534-CRB Document 1 Fiied 10/22/14 Page 6 of 27

AO 25'1"(RBV. 6.'"."8)

 

 

DEFENDANT lNFORMAT|ON RELATIVE TO A CR|MINAL ACT|ON - lN U.S. D§'l;I.RlCT COURT

 

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m suPERSEomG

 

 

OFFENSE CHARGED
Tirie 15 u_s. code section 1 raid nigging} |:i Petfy
Counts One. Six .
ntle 13 u.s. Code, 5ection 1341 1Mail Fraud) i:\ M'"°'
Coi.:nts Two, Three, Fourr Five, Seven, Eight .
[j Misde-
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PENALTY; See attachment

r 1 `=
Name of District Court, atan Judge/Mag£i§tr'ge Dcation
NORTHERN DisT findchle RN|A
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Eiz.'-‘)'r.L"§- t'f?i"?i':¥~"";r. ‘= -':
~-' oi':> FRH",T{~';`]§" il`t]l]'tgr

»- DEFENDANT - U.S ur LAL{F.U:`F
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§ JosEPHJ.GinAuoo

DisTsnm~%O 531

DEFENDANT

 

 

 

 

PROCEED|NG

Name of Comp|aintant Agency, or Person (& Title, if any)

Federai Bureau of lnvestigation

person is awaiting trial in another Federal or State Court,
|:| give name of court

 

this person/proceeding is transferred from another district
m per (circ|e one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of

charges previously dismissed
E which were dismissed on motion SHOW

Df; } DOCKET NO.

[:| U.S. ATTORNEY |:| DEFENSE

this prosecution relates to a
[:| pending case involving this same

defendant MAGiSTRATE

CASE NO.
prior proceedings or appearance(s)
before U.S. Magistrate regarding this
defendant were recorded under _____

 

 

 

Name and Office of Person
Furnishing information on this form

|:]U.S.Attorney [_§§} OtherU.S.Agency

Antitrust Division

Name of Assistant U.S.

Attorney (if assigned) David J. Wardr Triai Attorney

 

PROCESSZ
g SUMN|ONS NO PROCESS* |:| WARRANT _

if Summonsa complete foilowing:
|:| Arraignment |:l initial Appearance

Defenciant Address;

 

Comments:

|S NOT|N CUSTODY
Has not been arrested, pending outcome this proceeding
1) if not detained give date any prior
summons was served on above charges »

2) ij is a Fugitive

3) [:] is on Bai| or Release from (show District)

 

|S iN CUSTOD¥
4) i:| On this charge

5) [:] On another conviction

} [:| Federa| [:| State

6) [:] Awaiting trial on other charges
if answer to (6) is "Yes", show name of institution

if "¥es"
} give date
filed
Nlontthay/Y ear

 

Has detainer i:i Yes
been nied? [:f NO

oA‘rE oF ,
ARREST
Or... ifArresting Agency & Warrant were not

DATE TRANSFERRED MOnth/Danyear
TO U.S. CUSTODY

 

 

 

ADD|T|ONAL INFO RMAT|ON OR COMMENTS

Date/Time:

 

 

m This report amends AO 257 previously submitted

 

Baii Amount:

* Where defendant previously apprehended on coi'.n,i:iiar`ntl no new summons or
warrant needed, since Magr'strate has scheduled arraignment

Before Judge:

 

 

Case 3:14-cr-00534-CRB Document 1 Fiied 10/22/14 Page 7 of 27

PENALTY SHEET
Individual: Joseph J. Giraudo
15 U.S.C. § l - Bid Rjgging (Counts One, Six)

Maximum Penalties:

A term of imprisonment of 10 years

A fine of $l million, or two times the gross gain or loss, whichever is greater
A period of supervised release of not more than 3 years

$100 special assessment per count ($200)

Restitution

wew~r

18 U.S.C. § 1341 - Mail Fraud (Counts Twe, Three, Four, Five, Seven, Eight)

Maxirnum Penalties:

A term of imprisomnent of 20 years

A fine of $l million

A period Of supervised release of not more than 3 years
$100 special assessment per count ($600)

Restitution

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Case 3:14-cr-00534-CRB Document 1 Fiied 10/22/14 Page 8 of 27

Ao 257 (Rev. ansi

 

 

DEFENDANT INFORMATION RELAT|VE TO A CR!M|NAL ACT|ON - lN U. S. Q|§]'RlCT COURT

 

BY: i:l coMPLA1NT i:l 1NFoR1111AT10N l 1No1cTMENT
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-_--OFFENSE CHARGED

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Counts One, Six _

nt1e 13 u.s. cooe, section 1341 (Meii Fteiidi l:l M'"Dl

Counts Two, Three, Five, 5even, Eight .

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PENALTY: See attachment

Name of District Court,z‘t” mgm udgelMagMocation
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sAn,gg§iimcngb o1v1sioN q" 52

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» nAYMoNo A.GRINSELL

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, DEFENDANT

 

PROCEED|NG
Name of Compiaintant Agency, or Person (& Title, if any)

______._

Federai Bureau of investigation

 

person is awaiting trial in another Federai or State Cou1t,
|:] give name of court

 

this person/proceeding is transferred from another district
ij per (circ|e one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
|:| charges previously dismissed

which were dismissed on motion SHOW

mt oocKET 1110
m U.S.A`l'l'ORNEY m DEFENSE }

this prosecution relates to a
[:] pending case involving this same

defendant MAG|STRATE

CASE NO.
prior proceedings or appearance(s)
|:] before U.S. Magistrate regarding this
defendant were recorded under ___-___

 

 

Name and Offioe of Person
Furnishing information on this forrn

[:]U.S.Attorney iii OtherU.S.Agency

Antitrust Division

 

Name of Assistant U.S.

Attorney (if assig ned) David J. Ward, Tria| Attorney

 

 

PROCESS!
|:] SUN|MONS NO PROCESS* [:| WARRANT

if Summons, complete foilowing:
[:] Arraignment i:] initia|Appearanoe

Defendant Address:

DatelTime:

 

Comments:

lS NOTI'N CUSTODY
Has not been arrested, pending outcome this proi::eedini_:il
1)- - if not detained give date any prior
summons was served on above charges .

2) |:| is a Fugitive

3) [:] is on Baii or Reiease from (show District)

 

iS iN CUSTODY
4) ij On this charge
5) |:| On another conviction
|:| Federai [:| State

6) [:] Awaiting trial on other charges
if answer to (6) is "¥es", show name of institution

if "Yes"
} give date
filed

Montthay/Y ear

 

Has detainer i:i yes
been filed? |:| No

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Or... if Arresling Agency 81 Warrani were not

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ADD|T|ONAL INFORMAT|ON OR COMMENTS

[:i This report amends AO 257 previously submitted

 

Baii Amount;

* Where defendant previously apprehended on complaint no new summons or
Warrant needed. since Magistrafe has scheduled arraignment

Before Judge:

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Case 3:14-cr-00534-CRB Document 1 Fiied 10/22/14 Page 9 of 27

PENALTY SHEET
Individual: Raymond A. Grinsell
15 U.S.C. § 1 - Bid Rigging (Counts One, Six)

Maximum Penalties:

A term of imprisonment of 10 years

A fine of $1 million, or two times the gross gain or loss, whichever is greater
A period of supervised release of not more than 3 years

$100 special assessment per count ($200)

Restitution

 

f~":'*§~'~‘!\"l"‘

18 U.S.C. § 1341 ~ Mail Fraud (Counts Two, Three, Five, Seven, Eight)

Maximum Penalties:

A term of imprisonment of 20 years

A fine of$l million

A period of supervised release of not more than 3 years
$100 special assessment per count ($500)

Restitution

 

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Case 3:14-cr-00534-CRB Document 1 Fiied 10/22/14 Page 10 of 27

AO 257 (Rev. 6/78}

 

L DEFENDANT lNFORMAT|ON RELATIVE TO A CRIM|NAL ACT|ON - lN U.S. DISTR|CT COURT

 

 

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Name of District Court, andlor Jilge'i£&te Location

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DEFENDANT

 

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ntleis u.s.code,section1 cain nigging) |:1 Pefiy
Count One _
nt1e1s u.s.Code, section 1341 linen rtaucn ]:l M'"°f DEFENDANT - U.S
Cou nts Two, Three, Four _ i_
m Mlsde-
meanor , 1<Ev11\1 s. cuLuNANE
Feiony
PENALTY; 5ee attachment
PROCEED|NG __________ |S NOT|N CUSTODY

Name of Compiaintant Agency, or Person (& Title, if any)

Federai Bureau of investigation

 

m person is awaiting tn'ai in another Federai or State Court,
give name of court

 

this person/proceeding is transferred from another district
m per (circie one] FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of

charges previously dismissed
|:| which were dismissed on motion SHOW

of: } DOCKET NO.

|:l U.S. A`|TORNEY |:| DEFENSE

this prosecution relates to a
1:] pending case involving this same

defendant MAG|STRATE

} CASE NO.

Antitrust Division

prior proceedings or appearance(s)
ij before U.S. Magistrate regarding this
defendant were recorded under

 

 

 

 

Name and Office of Person
Furnishing information on this form

ij U.S. Attomey {Z| Other U.S. Agency

 

Name of Assistant U.S.

Attorney (if assigned) David J. Ward, Triai Attorney

 

PROCESS:
[] summons No PRocEss* ij WARRANT

if Summons, complete foilowing:
|:] Arraignment [:| |nitialAppearance

Defendant Address:

DatelTime:

 

Comments:

 

Has not been arrestedl pending outcome this proceedingl
11 if not detained give date any prior
summons was served on above charges ,

 

2) !:| is a Fugitive

3) [] is on Baii or Reiease from (show District)

 

lS !N CUSTOD¥
4) |:] On this charge

5) ij On another conviction

l:] Federai |:] State

6) ij Awaiting trial on other charges
if answer to (6) is "Yes", show name of institution

if "Yes"
} give date
f1led

Niontthanyear

 

Has detainer i:i Yes
been f1ied? f:| NO

DATE oF »
ARREST
Clr... if Arresting Agency & Warrant were not

DATE TRANSFERRED MOnth/Daleear
TO U.S. CUSTODY

 

 

 

 

ADD|T|ONAL lNFORMAT|ON OR COMMENTS

g This report amends AO 257 previously submitted

 

Baii Amount:

" Where defendant previously apprehended on complaint no new summons or
warrant needed, since Maglstrate has scheduled arraignment

Before Judge:

__...__.___

 

 

 

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Case 3:14-cr-00534-CRB Document 1 Fiied 10/22/14 Page 11 of 27

PENALTY SHEET
Individual: Kevin B. Cullinane
15 U.S.C. § 1 - Bid Rigging (Count One)

Maximum Penalties:

A term of imprisonment of 10 years

A fine of $1 million, or two times the gross gain or loss, whichever is greater
A period of supervised release of not more than 3 years

$100 special assessment per count ($100)

Restitution

 

$":“PJ.N.“

18 U.S.C. § 1341 ~ Mail Fraud (Counts Two, Three, Four)

Maximum Penalties:

A term of imprisonment of 20 years

A line ot`$l million

A period of supervised release of not more than 3 years
$100 special assessment per count ($300)

Restitution

 

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Case 3:14-cr-00534-CRB Document 1 Fiied 10/22/14 Page 12 of 27

Ao 257 (Rev_ ansi

 

L DEFENDANT lNFORMAT|ON RELATlVE TO A CR|MINAL ACT|ON - lN U.S. DISTRI§@OURT

BY: |:l coMPLA1Nr l:l 1NFoR1v1A“r1oN 1No1cr1v11snr
l:l suPERsEoine

 

 

 

Name of District Court, and/or Judg gistrate Locat1on

NoRTHERN o1sTR1cT o AQ{`FbB§iAA

 

 
 

 

 

 

 

 

Name of Compiaintant Agency, or Person (& Titie, if any)

Federai Bureau of investigation

person is awaiting trial in another Federai or State Court,
l:l give name of court

 

this personlproceeding is transferred from another district
l:l per (circie one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of

charges previously dismissed
l:l which were dismissed on motion SHOW

of } DOCKET NO.

m U.S. ATTORNEY |:l DEFENSE

 

this prosecution relates to a
pending case involving this same

defendant N|AG|STRATE

} CASE NO.

prior proceedings or appearance(s)
|:] before U.S. Niagistrate regarding this
defendant were recorded under

 

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nt1e1s us. code, secrion1 laid nigg1ngi 13 Peffy SAN FRANC|€:'?*QTD“W]§`i?N-m ""
Counts One,Six nn !"“"*"'J‘J l`li`“"
nt1e1s u.s.code, sect1on 1341 mail rtaucii m 'W“°l DEFENDANT - U.S
Counts Three, Four, Five, Eight . l_
I:l Misde-
meanor » JAMES F. APPEN nom
Feiony 5 3 4
PENALTY: 56€ attachment DICST§T COUTU&ER l
m nw
l ( DEFENDANT
r-___.__ PROCEEDlNG -_`__.__ iS NOT|N CUSTODY

 

 

 

Name and Office of Person
Furnishing information on this form

[:lU.S. Attorney [§[ Other U.S. Agency

Antitrust Division

Name of Assistant U.S.

Attorney (if assigned) David J. Ward, Triai Attorney

 

PROCESSZ
[:| SUMMONS NO PROCESS* [:| WARRANT

if Summons, complete foilowing:
|:] Arraignment ]___| initial Appearanoe

Defendant Address:

Date/Time:

 

Comments:

 

Has not been arrested pending outcome this proceeding
ll if not detained give date any prior
summons was served on above charges »

 

2) [:f is a Fugitive

3) [:] is on Baii or Release from {show District)

 

|S |N CUSTOD¥
4) l:| On this charge
5) |:] On another conviction
[:l Federai |___] State

6) [:1 Awaiting trial on other charges
if answer to (6) is "Yes", show name of institution

if "Yes"
} give date
f1led

Montthayl¥ear

 

Has detainer l:l Yes
been ii|ed? l:] No

DATE OF
ARREST
Or... if Arresting Agency & Warra nt were not

DATE TRANSFERRED MOnth/Day/Vear
TO U.S. CUSTODY

 

 

 

 

ADDfT|ONAL lNFORMAT|ON OR COMMENTS

m This report amends AO 257 previously submitted

 

Baii Amount:

‘ Where defendant previously apprehended on complaint no new summons or
wananf neededl since Magistrate has scheduled arraignment

Before Judge:

 

 

 

Case 3:14-cr-00534-CRB Document 1 Filed 10/22/14 Page 13 of 27

PENALTY SHEET
Individual: James F. Appenrodt
15 U.S.C. § 1 -Bid Rigging (Counts One, Six)

Maximum Penalties:

A term of imprisonment of 10 years

A fine of $1 million, or two times the gross gain or loss, whichever is greater
A period of supervised release of not more than 3 years

$100 special assessment per count ($200)

Restitution

 

V‘."“.L*"!\’.*“‘

18 U.S.C. § 1341 - Mail Fraud (Counts Three, Four, Five, Eight)

Maximum Penalties:

A term of imprisonment of 20 years

A fine of$l million

A period of supervised release of not more than 3 years
$ 100 special assessment per count ($400)

Restitution

 

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Case 3:14-cr-00534-CRB Document 1 Filed 10/22/14 Page 14 of 27

Ao 257 (Revi ansi

 

 

 

BY: [:l coMPi_AiNT l:l lNFoRMATloN indictment
L__l suPERsEoiNG

 

 

DEFENDANT lNFORMAT|ON RELAT|VE TO A CR|M|NAL ACTION - IN U.S. DlSHFTEQ.QURT
' ‘&-

£!J

Name of District Courtl andlqmwg gistrate Location
NoRTHERN olsTRlc,T,'o pfi?oe@n _

 

 

 

 

 

 

Name of Complaintant Agency, or Person (& Title, if any)

Federai Bureau of investigation

 

person is awaiting trial in another Federai or State Court.
m give name of court

 

this person/proceeding is transferred from another district
m per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of

charges previously dismissed
|:l which were dismissed on motion SHOW

of: } DOCKET NO.

|:| U.S. A`|'|’ORNEY |:| DEFENSE

this prosecution relates to a
m pending case involving this same

defendant |V|AG|STRATE

} CASE NO.

Antitrust Divlsion

prior proceedings or appearance(s)
[:l before U.S. N|agistrate regarding this
defendant were recorded under

 

 

Name and Office of Person
Furnishing information on this form

ij U.S. Attorney Other U.S. Agency

 

Name of Assistant U_S.

Attomey (if assig ned) David J. Ward, Tria| Attorney

 

PROCESS:
m suMMoNs No PRocEss* [:] WARRANT

lf Summons, complete following:
[:l Arraignment [__`] initial Appearance

Defendant Address:

DatelTime:

 

Comments:

oFFENsE cHARGEo §§ ,,-, .\ l 52
sAN FR or "." si " s
mims u.s.code,seciioni raid Riggingi m Peffy ms '*:?,IY§ fig|?rj,;; ‘I/,‘_:7
Count One _ b TH"'€T{]\|F.I CO! ':..?l`
hile is u.s.code, section 1341 (Maii Fraucii I:l M'n°r DEFENDANT - U.S ' “41;;‘0? ,,, ,
Counts Two, Four . N' "'
Mlsde-
l:l meanor . ABRAHAM s.FARAG
F
E'°"y olsTRicT count NUMBER
PENAL_'[Y; 5ee attachmentl 3
DEFENDANT
PROCEED|NG _________ IS NOT|N CUSTODY

 

 

Has not been arrested, pending outcome this proceeding
ll |f not detained give date any prior
summons was served on above charges »

 

2) l:l ls a Fugitive

3) l:] ls on Ball or Release from (show District)

 

lS lN CUSTODY
4) |:} On this charge

5) l:| On another conviction
m Federai |:| State

B) [:] Awaiting trial on other charges
|f answer to (6) is "Yes"l show name of institution

|f "Yes"
} give date

 

Has detainer l:l yes

been filed? [:| No med
DATE oF » Monihroayn'ear
ARREST

 

Or... ifArresting Agency 81 Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

 

ADD|T|ONAL lNFORMAT|ON OR COMMENTS

E} This report amends AO 257 previously submitted

 

Bai| Amount:

* Wliere defendant previously apprehended on complaint no new summons or
warrant neededl since Magistrafe has scheduled arraignment

Before Judge:

---_......_....__

 

 

Case 3:14-cr-00534-CRB Document 1 Filed 10/22/14 Page 15 of 27

PENALTY SHEET
Individual: Abraham S. Farag
15 U.S.C. § l - Bid Rigging (Count One)

Maximun'\ Penalties:

A term of imprisonment of 10 years

A fine of $l million, or two times the gross gain or loss, whichever is greater
A period of supervised release of not more than 3 years

$100 special assessment per count ($100)

Restitution

S‘".'“E*“!`~’.*‘

18 U.S.C. § 1341 ~ Mail Fraud (Counts Two, Four)

Maximum Penalties:

A term of imprisonment of 20 years

A fine of$l million

A period of supervised release of not more than 3 years
$100 special assessment per count ($200)

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DAVlD J. WARD (CSBN 239504)
CHRISTINA M. WHEELER (CSBN 203395)
LIDIA MAHER (CSBN 222253`)

ANDREW 1 . NICHOLSON-MEADE (CSBN 284070)
U.S. Departrnent of Justice

Antitrust Division

450 Golden Gate Avenue

Box 36046, Roorn 10-0101

San Francisco, CA 94102

Telephone: (415) 934-5300
david.ward@usdoj. gov

Attomeys for the United States

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION M/

UNITED STATES OF AMERICA m 1 4 5 3 4

 

) INDICTMENT
v. )
) VIOLATIONS: 15 U.S.C. § 1 -
JosEPH J. GrRAUDo, ) Bid Rissins (Counts One & Six);
RAYMOND A. GRINSELL’ ) 18 U.S.C. § 1341 - Mail Fraud (Counts
KEVIN B_ CULL[NANE, ) Two, Three, Four, Five, Seven & Eight)
JAMES F. APPENRODT, and l
ABRAHAM S. FARAG, )
)
Defenda:nts. )
)
)
The Grand Jury charges that:
BACKGROUND
1. At all times relevant to this Indictment, when California homeowners defaulted on

their mortgages, mortgage holders could institute foreclosure proceedings and sell the properties
through non-judicial public real estate foreclosure auctions (“public auctions”). These public

auctions were governed by California Civil Code, Section 2924, et seq. Typically, a trustee was

 

 

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appointed to oversee the public auctions These public auctions usually took place at or near the
courthouse of the county in which the properties were located. Thc auctionecr, acting on behalf
of the trustee, sold the property to the bidder offering the highest purchase price. Proceeds from
the sale were then used to pay the mortgage holders, other holders of debt secured by the
property, and, in some cases, the defaulting homeowner (collectively “beneflciaries”).
2. During the period covered by this Indictment, defendant JOSEPH J. GIRAUDO
was a bidder at and purchased real estate at public auctions in San Mateo and San Francisco
counties, California.
3. During the period covered by this Indictment, defendant RAYMOND A.
GRINSELL was a bidder at and purchased real estate at public auctions in San Mateo and San
Francisco counties, California.
4. During the period covered by this Indictment, defendant KEVIN B4 CULLINANE
Was a bidder at and purchased real estate at public auctions in San Mateo County, California.
5. During the period covered by this Indictment, defendant .1 AMES F.
APPENRODT was a bidder at and purchased real estate at public auctions in San Mateo and San
Francisco counties, California, on behalf of defendant JOSEPH J. GIRAUDO and others.
6. During the period covered by this Indictment, defendant ABRAHAM S. FARAG
was a bidder at and purchased real estate at public auctions in San Mateo County, California.
COUNT ONE: 15 U.S.C. § 1 - Bid Rigging (San Mateo County)
7. The following individuals are hereby indicted and made defendants on the charge
contained in Count One below:
a. JOSEPH J. GIRAUDO;
b. RAYMOND A. GR[NSELL;
c. KEVIN B. CULLINANE;
d. JAMES F. APPENRODT; and
e. ABRAHAM S. FARAG.

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THE COMBINATION AND CONSPIRACY

8. Paragraphs l through 6 of this Indictment are re-alleged and incorporated herein
as if fully set forth in this Count.

9. Beginning no later than August 2008 and continuing until on or about January ll,
2011, the exact dates being unknown to the Grand Jury, the defendants, JOSEPH J. GIRAUDO,
RAYMOND A. GRINSELL, KEVIN B. CULLINANE, JAMES F. APPENRODT, ABRAHAM
S. FARAG, and others known and unknown to the Grand Jury, entered into and engaged in a
combination and conspiracy to suppress and restrain competition by rigging bids to obtain
dozens of selected properties offered at public auctions in San Mateo County in the Northem
District of California, in unreasonable restraint of interstate trade and commerce, in violation of
Section l of the Sherman Act, Title 15, United States Code.

lO. The charged combination and conspiracy consisted of a continuing agreement,
understanding, and concert of action among the defendants and co-conspirators to suppress
competition by agreeing to refrain from or stop bidding against each other to purchase selected
properties at public auctions in San Mateo County at non-competitive prices.

MEANS AND METHODS

ll. For the purpose of forming and carrying out the charged combination and
conspiracy, the defendants and co-conspirators did those things that they combined and
conspired to do, including, among other things:

a. agreeing not to compete or to stop competing to purchase selected

properties at public auctions in return for payoffs;

b. designating which conspirators would win selected properties at public
auctions;

c. refraining from or stopping bidding for selected properties at public
auctions; and

d. purchasing selected properties at public auctions at artificially suppressed
prices.
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12. Various entities and individuals, not made defendants in this Count, participated
as co-conspiratcrs in the offense charged and performed acts and made statements in furtherance
thereof

TRADE AND COMMERCE

13. The public auctions and the business activities of the defendants and co-
conspirators that are the subject of this Count were within the continuous and uninterrupted flow
of, and substantially affected, interstate trade and commerce For example, during the period
covered by this Count:

a. substantial proceeds from the sale of properties purchased by the co-
conspirators pursuant to the bid-rigging conspiracy were transmitted from locations in one state
to certain beneficiaries located in other states;

b. instructions regarding the terms of sale of properties that would be
purchased by the co-conspirators pursuant to the bid-iigging conspiracy were transmitted and
communicated by certain beneficiaries located in one state to trustees located in other states;

c. paperwork related to the sale of properties purchased by the co-
conspirators pursuant to the bid-rigging conspiracy was sent by trustees located in one state to
certain beneficiaries located in other states, notifying them of the sale of properties in Which the

beneficiaries held an interest; and

 

d. beneficiaries included companies that operated in interstate commerce
JURISDICTION AND VENUE
14. The combination and conspiracy charged in this Count was carried out, in part, in

the Northern District of California, within the five years preceding the return cf this lndictnient.
ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION l.
COUNTS TWO THROUGH FIVE: 18 U.S.C. § 1341 - Mail Fraud (San Mateo County)
The Grand ]ury further charges that:
TH'E SCHEME TO DEFRAUD

 

15. Paragraphs 1 through 6 of this Indictment are re-alleged and incorporated herein

as if fully set forth in these Counts.

 

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16. Beginning no later than August 2008 and continuing until on or about January 11,
2011, the exact dates being unknown to the Grand Jui'y, in San Mateo County in the Northern
District of California, the defendants, JOSEPH J. GIRAUDO, RAYMOND A. GRINSELL,
KEVIN B. CULLINANE, JAMES F. AP`PENRODT, ABRAHAM S. FARAG, and others
known and unknown to the Grand Jury, did knowingly and with intent to defraud, devise and
participate in a scheme and artifice to defraud beneficiaries and to obtain money and property
from beneficiaries by means of materially false and fraudulent pretenses, representations, and
promises, and, for purposes of executing such scheme, to use and knowingly cause to be used the
United States mail and private or commercial interstate carriers
17. The purpose of the scheme was to fraudulently acquire title to dozens of selected
properties sold at public auctions in San Mateo County and to divert money to co-schemers that
would have gone to beneficiaries
MEANS AND METHODS OF THE SCHEME TO DEFRAUD
18. For the purpose of forming and carrying out the charged scheme to defraud, the
defendants and co-schemers did those things that they schemed to do, including, among other
things:
a. paying co-schemers monies that otherwise would have gone to
beneficiaries;
b. taking steps to conceal the fact that monies were diverted from
beneficiaries to co-schemers;
c. making and causing to be made materially false and misleading statements
on records of public auctions that trustees relied upon to distribute proceeds from the public

auction to beneficiaries and convey title to selected properties sold at the public auctions; and

d. causing the suppressed purchase price to be reported to beneficiaries
USE OF THE MAILS
19. To carry out and attempt to carry out the scheme and artifice to defraud, the

defendants and co-schemers knowingly used and caused to be used the United States Postal
Service and private or commercial interstate carriers. For example, the defendants and

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ordinary course of business

co-schemers caused trustees to use the United States mail and private or commercial interstate
carriers to transmit the Trustee’s Deeds Upon Sale (“TDUS”) and other related documents to

participants iri the scheme. These mailings were foreseeable to the defendants and mailed in the

On or about the dates and with respect to the individual defendants specified as to
each count set forth below, the defendants and co-schemers did knowingly cause to be delivered
by United States mail and private and commercial carriers, including the United States Postal

Service, United Parcel Service, and FedEx, the items identified in each count below:

 

 

 

 

 

 

 

 

 

 

 

 

 

Approx. . .
Description of
Count Defendants Date of To From _ _
_ . Maillng
Mailing
Joseph Giraudo
TDUS Regarding:
Rayrnond GrinS€ll 10 Santa Gina Ct., §:::'l'llllttion
2 _ _ 3/9/2010 Hiilsborough, CA 94010 2544 Emmeu Way,
Kevin Culllrlarl€ Network East Palo Alto CA
Abraham Fai'ag
Joseph Giraudo
_ Re .Onal TDUS Regarding:
Raymond Grinsell 31 1 S. Ellsworth Ave. Tr§;tee
3 _ _ 4/5/2010 San Mateo, CA 94401 . 974 Gellert Blvd.,
Kevin Cullinane Sewlces Daly City CA
J ames Appenrodt
Joseph Giraudo
TDUS Regarding:
Kevin Cullinane 2300 Bridgeway, ;JVD:X
4 5/ 13/2010 sausaiito, CA 94965 es ’ 91 El Portal Way,
Jarnes Appenrodt L'L'C' Daly City CA
Abraham Farag
Joseph Giraudo Quality TDUS Regarding:
l 63 Bovet Rd. #354 Loan
5 Raymond GrmS€ll 91 113/2010 san Mateo, ca 94403 service 81 Highiand Ave,
James Appenmdt Corp. San Carlos, CA
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JURISDICTION AND VENUE
21. The scheme and artifice to defraud charged in these Counts was carried out, in
part, in the Northern District of California, within the five years preceding the return of this
indictment
ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION 1341.
COUNT SIX: 15 U.S.C. § l - Bid Rigging (San Francisco County)
The Grand Jury further charges that:
22. The following individuals are hereby indicted and made defendants on the
charges stated in Count Six below:
a. JOSEPH ]. GIRAUDO;
b. RAYMOND A. GRINSELL; and
c. JAMES F. APPENRODT.
THE COMBINATION AND CONSPIRACY
23. Paragraphs 1 through 3 and paragraph 5 of this Indictment are re-alleged and
incorporated herein as if fully set forth in this Count.
24. Beginning no later than Novernber 2008 and continuing until on or about lanuary
11, 2011, the exact dates being unknown to the Grand Jury, the defendants, JOSEPH J.
GIRAUDO, RAYMOND A. GRINSELL, JAMES F. APPENRODT, and others known and
unknown to the Grand Jury, entered into and engaged in a combination and conspiracy to
suppress and restrain competition by rigging bids to obtain dozens of selected properties offered
at public auctions in San Francisco County in the Northern District of California, in unreasonable
restraint of interstate trade and commerce, in violation of Section 1 of the Sherman Act, Title 15,
United States Code.
25. The charged combination and conspiracy consisted of a continuing agreement,
understanding and concert of action among the defendants and co-conspirators to suppress
competition by agreeing to refrain from or stop bidding against each other to purchase dozens of

selected properties at public auctions in San Francisco County at non-competitive prices.

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MEANS AND METHODS
26. For the purpose of forming and carrying out the charged combination and
conspiracy, the defendants and co-conspirators did those things that they combined and
conspired to do, including, among other things:
a. agreeing not to compete or to stop competing to purchase selected

properties at public auctions in returns for payoffs;

b. designating which conspirators would win selected properties at public
auctions;

c. refraining from or stopping bidding for selected properties at public
auctions; and,

d. purchasing selected properties at public auctions at artificially suppressed

prices
27. Various entities and individuals, not made defendants in this Count, participated
as co-conspirators in the offense charged and performed acts and made statements in furtherance
thereof
TRADE AND COMMERCE

 

28. The public auctions and the business activities of the defendants and co-
conspirators that are the subject of this Count were within the continuous and uninterrupted flow
of, and substantially affected, interstate trade and commerce For example, during the period
covered by this Count:

a. substantial proceeds from the sale of properties purchased by the co-
conspirators pursuant to the bid-rigging conspiracy were transmitted from locations in one state
to certain beneficiaries located in other states;

b. instructions regarding the terms of sale of properties that would be
purchased by the co-conspirators pursuant to the bid-rigging conspiracy were transmitted and
communicated by certain beneficiaries located in one state to trustees located in other states;

c. paperwork related to the sale of properties purchased by the co-
conspirators pursuant to the bid-rigging conspiracy was sent by trustees located in one state to

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certain beneficiaries located in other states, notifying them of the sale of properties in which the

beneficiaries held an interest; and

 

d. beneficiaries included companies that operated in interstate commerce
JURISDICTION AND VENUE
29. The combination and conspiracy charged in this Count was carried out, in part, in

the Northern District of Califomia, within the five years preceding the return of this lndictment.

ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.
COUNTS SEVEN & EIGHT: 18 U.S.C. § 1341 ~ Mail Fraud (San Francisco County)

The Grand Jury further charges that:

THE SCHEME TO DEFRAUD

30. Paragraphs 1 through 3 and paragraph 5 of this Indictment are re-alleged and
incorporated herein as if fully set forth in these Counts.

31. Beginning no later than November 2008 and continuing until on or about January
ll, 2011, the exact dates being unknown to the Grand Jury, in San Francisco County in the
Northern District of California, the defendants JOSEPH l. GIRAUDO, RAYMOND A.
GRINSELL, JAMES F. APPENRODT, and others known and unknown to the Grand Jury, did
knowingly and with intent to defraud, devise and participate in a scheme and artifice to defraud
beneficiaries and to obtain money and property from beneficiaries by means of materially false
and fraudulent pretenses, representations and promises and, for purposes of executing such
scheme, to use and knowingly cause to be used the United States mail and private or commercial
interstate carriers

32. The purpose of the scheme was to fraudulently acquire title to dozens of selected
properties sold at public auctions in San Francisco County and to divert money to co-schemers
that would have gone to beneficiaries
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MEANS AND METl-IODS OF THE SCI-IEME TO DEFRAUD
33. For the purpose of forming and carrying out the charged scheme to defraud, the
defendants and co-schemers did those things that they schemed to do, including, among other
things:

a. paying co-schemers monies that otherwise would have gone to
beneficiaries',

b. taking steps to conceal the fact that monies were diverted from
beneficiaries to co-schemers;

c. making and causing to be made materially false and misleading statements
on records of public auctions that trustees relied upon to distribute proceeds from the public
auction to beneficiaries and convey title to properties sold at the public auctions; and

d. causing the suppressed purchase price to be reported to beneficiaries

USE OF THE MAILS

34. To carry out and attempt to carry out the scheme and artifice to defraud, the
defendants and co-schemers knowingly used and caused to be used the United States Postal
Service and private or commercial interstate carriers For example, the defendants and
co-schemers caused trustees to use the United States mail and private or commercial interstate
carriers to transmit TDUSs and other related documents to participants in the scheme. These
mailings were foreseeable to the defendants and mailed in the ordinary course of business

35. On or about the dates and with respect to the individual defendants specified as to
each count set forth below, the defendants and co-schemers did knowingly cause to be delivered
by United States mail and private and commercial carriers, including the United States Postal
Service, United Parcel Service, and FedEx, the items identified in each count below:
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Description of
Count Defendants Date of To F rom y _
_ _ Mailing
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2010 Ocean Ave. . _
7 JOS@Ph Giraudo 7/8/2010 Suite E CR Ti`tle TDUS Regardmg'
S Francisco, CA Serv` ln .
Raymond Grinsell 9:?27 wes C 4126 Pacheco St.
San Francisco, CA
Joseph Giraudo 1 138 Taylor St_ Northwest TDUS Regarding:
8 Raymond Grinsell 7/23/2010 San Fram=i$€@, CA TruSt€€ 2094 468 Ave
94108 Services, Inc. .
San Francisco, CA
James Appenrodt
JURISDICTION AND VENUE
36. The scheme and artifice to defraud charged in these Counts was carried out, in

part, in the Northern Distiict of California, within the five years preceding the return of this
Indictment.

ALL lN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION 1341.
FORFEITURE ALLEGATION: 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c)

37. Paragraphs 1 through 6, paragraphs 15 through 21, and paragraphs 30 through 36
are hereby re-alleged as if fully set forth herein for the purpose of alleging forfeiture pursuant to
the provisions of Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States
Code, Section 2461(0).

38. Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28,
United States Code, Section 246l(c), upon conviction of the offenses alleged in Counts Two,
Three, Four, Five, Seven, and Eight of this Indictment, each defendant so convicted shall be
jointly and severally liable to forfeit to the United States any property constituting, or derived
from, proceeds obtained directly or indirectly from the scheme and artifice to defraud alleged in

said Counts.

39. lf, as a result of any act or omission of the defendants any of said property:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;

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c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property that cannot be divided

without difficulty;
any and all interest that the defendants have in any other property, up to the value of the property
described in Paragraph 38 above, shall be forfeited to the United States pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

 

 

2461 (c).
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Dated: /tl "21'°'/¢

Brent Snyder v
Deputy Assistant Attorney General

   

Marvin N. Pri e
Director of Criminal Enforcement
United States Departrnent of Justice
Antitrust Division

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Attorney for the United States
Acting Under Authority Conferred
by 28 U.S.C. § 515

 

 

A TRUE BILL.

 

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Mar(Siegel __ \"/
Chief, San Francisco Office

M/%¢¢Lc/

E. Kate Patchen
Assistant Chief, San Francisco Office

 

David J. War

Christina M. Wheeler

Lidia Maher

Andrew Nicholson-Meade

United States Department of Justice
Antitrust Division

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